Case 1:21-cv-01093-RM-NRN Document 25 Filed 07/08/21 USDC Colorado Page 1 of 2




                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
                                     Judge Raymond P. Moore

  Civil Action No. 21-cv-01093-RM-NRN

  JOSHUA MORRELL,

          Plaintiff,

  v.

  ALLAN BLANCO, in his individual capacity;
  JONATHAN TOPPER, in his individual capacity; and
  CORECIVIC, INC., a corporation;

        Defendants.
  ______________________________________________________________________________

                                     ORDER
  ______________________________________________________________________________

          Plaintiff’s action is against Defendant CoreCivic, Inc., an alleged private, for-profit

  corporation that manages prisons, detention centers, and jails throughout the United States, and

  two of its employees in their individual capacities. Plaintiff alleges federal and state claims and

  seeks, among other things, punitive damages. (ECF No. 1.) Although Plaintiff does not allege

  what provision or source supports his request for punitive damages, Defendants’ answer

  indicates the punitive damages request is made under C.R.S. § 13-21-102. (See Answer, ECF No.

  22, p. 18 at ¶¶ 16, 17.)

          This matter is now before the Court sua sponte after considering Defendants’ answer

  which includes the following among their “defenses and affirmative defenses”: “Plaintiff’s claim

  for punitive damages against Defendants is barred, limited, reduced, or in the alternative,

  unconstitutional in violation of the rights of Defendants under the United States and Colorado

  Constitutions.” (ECF No. 22, p. 18 at ¶ 16.) Although unclear, Defendants may be challenging

  the constitutionality of a state statute concerning punitive damages in this action. If so, issues are
Case 1:21-cv-01093-RM-NRN Document 25 Filed 07/08/21 USDC Colorado Page 2 of 2




  raised as to whether Defendants are required to file a notice of constitutional question with this

  Court and to serve the state attorney general with the notice and paper in which the statute’s

  constitutionality was raised.

          Specifically, Fed. R. Civ. P. 5.1(a)(1) provides that a party who files a pleading drawing

  into question the constitutionality of a state statute must:

          (1) file a notice of constitutional question stating the question and identifying the
              paper that raises it, if:
                                                  ***
              (B) a state statute is questioned and the parties do not include the state, one of
                   its agencies, or one of its officers or employees in an official capacity.

  In addition, the party must also serve the notice and paper on the appropriate person. Fed. R. Civ.

  P. 5.1(a)(2).

          Here, three issues are raised. First, whether Defendants are drawing into question the

  constitutionality of C.R.S. § 13-21-102. Second, if so, whether Defendant CoreCivic, which

  allegedly has a contract for services with the Colorado Department of Corrections, is an

  “agency” of the State of Colorado within the meaning of Rule 5.1. And third, if not, whether

  Defendants are required to comply with Rule 5.1 but have not done so. The Court finds

  Defendants must address those issues. Accordingly, it is

          ORDERED that by Thursday, July 15, 2021, Defendants shall file a notice either in

  compliance with Fed. R. Civ. P. 5.1 or showing that compliance is not required.

          DATED this 8th day of July, 2021.

                                                         BY THE COURT:



                                                         ____________________________________
                                                         RAYMOND P. MOORE
                                                         United States District Judge



                                                     2
